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                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF CONNECTICUT


JANE DOE                                                              CIVIL ACTION NO.
                Plaintiff
vs.
RICHARD BRUNO
          Defendant
and

DOMCO LLC, DOMCO II LLC
and KEM BRUNO aka KEM CURTIN
           Garnishees                                                 FEBRUARY 14,2017


         MOTION FOR PERMISSION TO PROCEED UNDER FICTITIOUS NAME


         The plaintiff respectfully moves pursuant to Rule lO(a) of the Federal Rules of Civil

Procedure and Rule 7(f) of the Local Civil rules of this Court for permission to bring this action

under fictitious name, to wit Jane Doe for herself and for permission to file her true and correct

name with this Court under seal. In support of this motion, the plaintiff represents as follows:

      1. This is an action against Richard Bruno for violations of the 2006 Adam Walsh Child

         Protection and Safety Act, under 18 U.S.C. §2255. The defendant produced child

         pornography of the plaintiff which was transported in interstate commerce, and attempted

         to entice the plaintiff into sexual contact while she was a minor.

      2. The plaintiff is entitled to be protected from public dissemination of her name because of

         the circumstances described above and in greater detail in her complaint. She was a

         minor at the time of the defendant's conduct as aforesaid.

      3. The relief requested is authorized by many courts which have considered the matter,

          including Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992); Coe v. United States District
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Court, 676 F.2d 411, 414 (I O'h Cir. 1982); Southern Methodist University Assn. v.

Wynne & Jqffae, 599 F.2d 707, 712 (5 1h Cir. 1979); Doe v. Stegall, 653 F.2d 180 (5 1h Cir.

1982); Free Market Compensation v. Commodity Exchange, 98 F.R.D. 311 (S.D.N.Y.

1983); Doe v. Deschamps, 64 F.R.D. 652 (D. Mont. 1974).



                                     THE PLAINTIFF

                                     BY (s) Jonathan J. Einhorn

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